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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE


In re

OLDAPCO, INC., et al.,                                  Chapter 11

Debtors.                                                Case No. 17-12082 (KJC)

                                                        (Jointly Administered)

ALAN D. HALPERIN AND EUGENE I. DAVIS,
AS CO-TRUSTEES OF THE APPVION
LIQUIDATING TRUST,                                      Adv. Proc. No. 18-50955-KJC

Plaintiff,

v.

MARK R. RICHARDS, THOMAS J. FERREE,
TAMI L. VAN STRATEN, JEFFREY J.
FLETCHER, KERRY S. ARENT, STEPHEN P.
CARTER, TERRY M. MURPHY, ANDREW F.
REARDON, KATHI P. SEIFERT, MARK A.
SUWYN, CARL J. LAURINO, DAVID A.
ROBERTS, KEVIN GILLIGAN, ARGENT
TRUST COMPANY, STOUT RISIUS ROSS,
INC., STOUT RISIUS ROSS, LLC, JOHN/JANE
DOES 1-40,

Defendants.

              NOTICE OF RESCHEDULED PRETRIAL CONFERENCE IN
                         AN ADVERSARY PROCEEDING

TO ALL PARTIES:

        PLEASE TAKE NOTICE, per the Court’s direction, the Pretrial conference initially

scheduled for March 21, 2019 at 10:00 a.m. has been rescheduled to the below:
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Address    United States Bankruptcy Court
           District of Delaware
           824 Market Street
           5th Floor, Courtroom #5
           Wilmington, DE 19801


                                     Date and Time
                                     April 23, 2019 at 10:00 a.m. ET




                                GRANT & EISENHOFER P.A.

                                /s/ Vivek Updahya
                                Christine Mackintosh (Delaware Bar No. 5085)
                                Vivek Upadhya (Delaware Bar No. 6241)
                                123 Justison Street
                                Wilmington, DE 19801
                                Telephone: 302-622-7000
                                Email: cmackintosh@gelaw.com
                                        vupadhya@gelaw.com

                                - and-

                                Gordon Z. Novod (pro hac vice pending )
                                485 Lexington Avenue, 29th Floor
                                New York, New York 10017
                                Tel: 646-722-8500
                                Fax: 646-722-8501
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                                Special Counsel for Alan D. Halperin and Eugene
                                I. Davis, as Co-Trustees of the Appvion
                                Liquidating Trust
